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     PLAINTIFF’S PRE-HEARING MEMORANDUM OF LAW IN SUPPORT OF
          PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

                                    EXHIBIT INDEX

   Exhibit
                                                 Description
    No.
                         Declaration of Gabriel Gillett Exhibits
     1       September 4, 2017 email from Jesse Raasch to Lixin Sun re: Resume (translated)

     2       Screenshot of a Facebook post from Matt Hoppes, dated September 1, 2016

     3       June 26, 2019 email from Josh Wentworth to Jeff Brown re: Sandhills Wireless
             in Huawei Unit
     4       Baicells’s PLMN Migration PowerPoint Presentation

     5       March 3, 2020 email from Rick Harnish to Jon Truell email re: We Have Our Own
             HNI
     6       September 12, 2019 email from Bo Wei to Tom Goode, et al, re: Baicells’ Plan
             on PLMN Migration
     7       Baicells’s PLMN Migration Updated PowerPoint Presentation

     8       Baicells’s August 7, 2019 PLMN Migration Plan for Cloud EPC in NA

     9       July 9, 2019 email from Ronald Mao to Andy Yang re: PLMN Conflict with NA
             CloudCore
     10      July 22, 2019 email from Jesse Raasch to Chad Murrish, et al., re: Baicells-
             Application for HNI
     11      November 6, 2019 PowerPoint titled “Discussion of Baicells Migration Plan: IOC
             Virtual Meeting”
     12      Baicells’s PLMN Migration Updated PowerPoint Presentation

     13      September 6, 2016 email from Jesse Raasch to Rick Harnish, et al., re: Technical
             Issue
     14      Baicells’s PLMN Migration PowerPoint Presentation

     15      PLMN-ID Survey Report: Full List of PLMN ID in United States

     16      July 9, 2019 email from Andy Yang to Jesse Raasch re: [Baicells Technologies]
             “US Support Team (Level 1)” Assignment LigTel MCC/MNC Issue
     17      July 8, 2019 email from Sam Tetherow to Randy Mead re LigTel HNI Code



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     18     Baicells’s Responses to LigTel’s First Set of Interrogatories, dated March 24,
            2020
     19     August 21, 2019 email from Bo Wei to Natalie McNamer (ATIS) re: Use of HNI
            310-90(0)
     20     Printouts from Baicells’s public website, taken on January 12, 2020


                         Declaration of Randy Mead Exhibits
     1      iconectiv IMSI, FAQ webpage, https://imsiadmin.com/faq (last accessed March
            25, 2020)
     2      IMSI Assignment and Management Guidelines and Procedures (“IMSI
            Guidelines”)                          (Aug.                           2018),
            https://www.atis.org/01_committforums/ioc/docs/IMSI-Guidelines-v15.1.1.pdf
     3      November 7, 2011 Letter from Telcordia d/b/a iconectiv Confirming LigTel’s
            HNI Code Assignment
     4      LigTel’s Proof of Annual Maintenance Payments for HNI Code

     5      LigTel’s Cybersecurity Policies No. 1

     6      LigTel’s Cybersecurity Policies No. 2

     7      LigTel Employee Confidentiality Agreements

     8      Non-Disclosure Agreements between Huawei and LigTel (2010)

     9      February 23, 2020 Email to Mead re 3GPP HNI Guidelines (with the standards
            attached)
     10     Screenshot of Baicells’s Website stating it is 3GPP Compliant (publicly available
            online)
     11     Non-Disclosure Agreement between Huawei and LigTel (2011)

     12     August 21, 2019 Letter LigTel sent to Goode at ATIS re Baicells’s Use of LigTel
            HNI Code
                      Declaration of Joshua Wentworth Exhibits
     1      IMSI Assignment and Management Guidelines and Procedures (“IMSI
            Guidelines”)       (Aug.        2018),        https://www.atis.org/01_committ
            _forums/ioc/docs/IMSI-Guidelines-v15.1.1.pdf.
     2      November 7, 2011 Letter from Telcordia d/b/a iconectiv Confirming LigTel’s
            HNI Code Assignment
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     4      Non-Disclosure Agreements between Huawei and LigTel (2011)


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     5      LigTel’s Cybersecurity Policies No. 1

     6      LigTel’s Cybersecurity Policies No. 2

     7      LigTel Employee Confidentiality Agreements

     8      April 17, 2017 email from Wentworth to Huawei employees, including Mao, re:
            Capacity Issues
     9      June 21, 2019 email from Brown to Wentworth re Contact Info.

     10     June 26, 2019 email from Brown to Wentworth re Sandhills Wireless in Huawei
            Unit
     11     Photos of Baicells SIM cards

     12     July 3, 2019 Letter from LigTel to Sandhills Granting Limited Right to Use
            LigTel’s HNI code
     13     July 31, 2019 Email and Letter from LigTel to Sandhills Extending the Limited
            Right to Use
     14     August 21, 2019 Letter LigTel sent to Goode at ATIS re Baicells’s Use of LigTel
            HNI Code
     15     Baicells’s migration plan progress report to ATIS from March 2020.

     16     Non-Disclosure Agreements between Huawei and LigTel (2010)

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